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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

        CHAMBERS OF                                                                 U.S. COURTHOUSE
    CATHERINE C. BLAKE                                                         101 WEST LOMBARD STREET
UNITED STATES DISTRICT JUDGE                                                  BALTIMORE, MARYLAND 21201
                                                                                       (410) 962-3220
                                                                                     Fax (410) 962-6836


                                               July 29, 2021



 MEMORANDUM TO COUNSEL

        Re:      United States v. Davonte Harrison, et al.
                 Criminal No. CCB-19-0575


 Dear Counsel:

        This will confirm the results of our conference call on Tuesday, July 27, 2021.

        The pretrial conference is scheduled for August 4, 2021 at 5:15 p.m. in
 my chambers. Joint voir dire, the government’s jury instructions (with a copy
 e:mailed to the Chambers box MDD CCBChambers@mdd.uscourts.gov), and any
 motions in limine are due at the pretrial conference.

        The trial of this case (4-5 days, jury) will begin on August 16, 2021 at
 10:00 a.m. Counsel should come to chambers at 9:30 a.m. that morning.

        Despite the informal nature of this ruling, it shall constitute an Order of
 Court, and the Clerk is directed to docket it accordingly.

                                               Sincerely yours,


                                                       /S/

                                               Catherine C. Blake
                                               United States District Judge
